     Case 2:20-cv-10383-DDP-KS Document 21 Filed 04/29/21 Page 1 of 1 Page ID #:130




1
2
3                                                       JS-6
4
5
6
7
8                           UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10
      BELINDA C. BEDELL,                ) NO. CV 20-10383-DDP (KS)
11                                      )
                    Plaintiff,
12                                      )
            v.                          ) JUDGMENT
13                                      )
14    WHITEMAN, et al,                  )
                                        )
15                     Defendants.      )
16    _________________________________ )
17
18          Pursuant to the Court’s Order Accepting Findings and Recommendations of United
19    States Magistrate Judge,
20
21         IT IS ADJUDGED that this action is dismissed without prejudice.
22
23    DATED:
                  $SULO  
24                                              _____________________________________
25                                                      DEAN D. PREGERSON
                                                  UNITED STATES DISTRICT JUDGE
26
27
28

                                                1
